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10
11                       UNITED STATES DISTRICT COURT
12               FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                               WESTERN DIVISION
14
      REA.DEEMING BEAUTY INC.               )   Case No.
15    d/b/a BEAUTYBLENDER, a                )
      California Corporation,               )   COMPLAINT FOR:
16
                  Plaintiff,                )   (1) BREACH OF CONTRACT;
17                                          )   (2) BREACH OF THE
18                v.                        )       COVENANT OF GOOD
                                            )       FAITH AND FAIR DEALING;
19    NEW FLAG GMBH, a German               )   (3) CONTRIBUTORY FEDERAL
20    limited liability company,            )       TRADEMARK
                                            )       INFRINGEMENT; AND
21                Defendant.                    (4) CONTRIBUTORY FEDERAL
                                            )       UNFAIR COMPETITION
22                                          )       AND FALSE DESIGNATION
                                            )       OF ORIGIN.
23
                                            )
24                                          )   DEMAND FOR JURY TRIAL
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                                     COMPLAINT
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 1         Plaintiff Rea.deeming Beauty Inc. d/b/a beautyblender (“Plaintiff” or
 2   “beautyblender”) for its complaint against Defendant New Flag GmbH
 3   (“Defendant” or “New Flag”) states as follows:
 4                         THE NATURE OF THE ACTION
 5         1.     This is an action for damages and injunctive relief for breach of contract,
 6   breach of the covenant of good faith and fair dealing, contributory trademark
 7   infringement under Section 32 of the Federal Lanham Act, 15 U.S.C. § 1114, and
 8   contributory unfair competition and false designation of origin under Section 43(a)
 9   of the Federal Lanham Act, 15 U.S.C. §1125(a).
10                                      THE PARTIES
11         2.     Plaintiff Rea.deeming Beauty Inc. is a corporation organized and
12   existing under the laws of the State of California with a principal place of business at
13   3864 Courtney Street, Suite 190, Bethlehem, Pennsylvania 18017.
14         3.     Upon information and belief, Defendant New Flag GmbH is a German
15   limited liability company with a principal place of business at Leopoldstraße 154,
16   80804 München, Germany.
17                           JURISDICTION AND VENUE
18         4.     This action arises under the Lanham Act, 15 U.S.C. § 1051 et seq., and
19   under the common laws of the State of California.
20         5.     This court has jurisdiction over the subject matter of this action pursuant
21   to 28 U.S.C. §§ 1331 and 1338 as to the claims under federal law and pursuant to 28
22   U.S.C. § 1367(a) as to the claims under state law.
23         6.     In addition, subject matter jurisdiction is proper in this Court pursuant
24   to 28 U.S.C. § 1332(a)(2). The matter is between a citizen of a State and a citizen of
25   a foreign state and the matter in controversy exceeds the sum or value of $75,000,
26   exclusive of interest and costs.
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                                         COMPLAINT
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 1         7.       This Court has personal jurisdiction over New Flag, and venue is proper
 2   in this district because, in Section 6.1 of the Distribution Agreement that is the subject
 3   of this litigation, New Flag irrevocably consented to jurisdiction and venue in Los
 4   Angeles County, California, and expressly waived any objection to improper
 5   jurisdiction, improper venue, or inconvenient forum in Los Angeles County,
 6   California.
 7         8.       Venue is also proper pursuant to 28 U.S.C. § 1391(b).
 8                               FACTUAL ALLEGATIONS
 9                 The BEAUTYBLENDER Brand and Intellectual Property
10         9.       Founded in 2003 by Rea Ann Silva, one of the most sought-after
11   Hollywood makeup artists in the industry, Plaintiff beautyblender has forever
12   changed the way makeup is applied.
13         10.      While working as head of the makeup department for one of the first
14   television shows shot in high-definition, Ms. Silva grew frustrated with the existing
15   tools for applying and touching up makeup and knew a better tool was needed to
16   provide a flawless face, free of lines or demarcations. After spending hours in her
17   makeup trailer cutting up sponges to form the perfect elliptical shape, Ms. Silva
18   created a one-of-a-kind edgeless makeup sponge that delivers a professional airbrush
19   effect without actually using an airbrush:
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                                         COMPLAINT
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           11.    Introduced by Plaintiff as the BEAUTYBLENDER brand sponge, this
11
     category-creator product quickly won countless beauty awards and is now beloved
12
     by both makeup aficionados and newbies as the go-to tool for achieving a perfectly
13
     blended complexion. Today, beautyblender continues to drive innovation with
14
     products such as blenders, foundations, blending kits, and other beauty-related tools
15
     and accessories that require minimal effort yet offer maximum results.
16
           12.    Plaintiff sells its products through its own website, beautyblender.com,
17
     and also through its network of authorized distributors and authorized online and in-
18
     store retailers (collectively, “Authorized Dealers”).
19
           13.    Plaintiff devotes a significant amount of time, energy, and resources
20
     toward protecting the value of its BEAUTYBLENDER brand, products, name, and
21
     reputation. By distributing products exclusively through its own website and its
22
     Authorized Dealers, beautyblender is able to ensure the satisfaction of consumers and
23
     maintain the integrity and reputation of the BEAUTYBLENDER brand. In the highly
24
     competitive beauty products market, quality and customer service are a fundamental
25
     part of the consumer’s decision to purchase a product.
26
           14.    The BEAUTYBLENDER brand’s online presence is strong, not only on
27
     Plaintiff’s own website, but on the various social media platforms through which it
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                                        COMPLAINT
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 1   engages with the public. Plaintiff’s Instagram account has over 2.3 million followers.
 2   Its Facebook account has over 330,000 followers. Its Twitter account has over
 3   100,000 followers.
 4         15.    Plaintiff has used the BEAUTYBLENDER mark in commerce
 5   throughout the United States continuously since at least 2004 and has invested
 6   millions of dollars promoting its brand under the BEAUTYBLENDER mark (the
 7   “BEAUTYBLENDER Mark”).
 8         16.    Plaintiff owns numerous valid United States federal trademark
 9   registrations for its BEAUTYBLENDER Mark, including but are not limited to, the
10   following:
11
          Trademark               Reg./Ser. No.           Description of Goods
12
13      BEAUTYBLENDER               2,945,105         Sponge applicator for makeup.
14
                                                      Non-medicated cleansers,
15                                                    namely, cleanser for cleaning
                                                      cosmetic sponge applicators
16                                                    and make up brushes.
17                                                    Cosmetic cases sold empty;
18                                                    Travel cases; Vanity cases
                                                      sold empty; Pouches for
19                                                    holding makeup accessories
                                                      sold empty; Makeup accessory
20                                                    carrying cases sold empty.
                                    4,719,164
21
                                                      Sponge applicator for
22                                                    applying makeup; Sponges
                                                      used for applying makeup;
23                                                    Sponge holders; Cosmetic
                                                      storage kits including a palette
24                                                    empty of cosmetics used for
25                                                    color matching purposes and
                                                      storage of customized
26                                                    cosmetic blends in a nonmetal
                                                      storage container; Cosmetic
27                                                    blending sponge kits
28
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                                       COMPLAINT
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 1        Trademark            Reg./Ser. No.         Description of Goods
 2
                                                 comprising sponges for
 3                                               applying makeup and sponge
                                                 cleanser; Tools for skin care,
 4                                               namely, makeup brushes
 5                                               Non-medicated cleansers,
                                                 namely, cleanser for cleaning
 6                                               cosmetic sponge applicators
                                                 and make up brushes.
 7
                                                 Cosmetic cases sold empty;
 8                                               Travel cases; Vanity cases
 9                                               sold empty; Pouches for
                                                 holding makeup accessories
10                                               sold empty; Makeup accessory
                                                 carrying cases sold empty.
11
12                               4,719,175       Sponge applicator for
                                                 applying makeup; Sponges
13                                               used for applying makeup;
                                                 Sponge holders; Cosmetic
14                                               storage kits including a palette
                                                 empty of cosmetics used for
15                                               color matching purposes and
16                                               storage of customized
                                                 cosmetic blends in a nonmetal
17                                               storage container; Cosmetic
                                                 blending sponge kits
18                                               comprising sponges for
19                                               applying makeup and sponge
                                                 cleanser; Tools for skin care,
20                                               namely, cosmetic brushes
                                                 Non-medicated cleansers,
21                                               namely, cleanser for cleaning
                                                 cosmetic sponge applicators
22                                               and make up brushes.
23
                                 4,719,170       Cosmetic cases sold empty;
24                                               Travel cases; Vanity cases
                                                 sold empty; Pouches for
25                                               holding makeup accessories
26                                               sold empty; Makeup accessory
                                                 carrying cases sold empty.
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                                         6
                                    COMPLAINT
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 1         Trademark                Reg./Ser. No.              Description of Goods
 2
                                                          Sponge applicator for
 3                                                        applying makeup; Sponges
                                                          used for applying makeup;
 4                                                        Sponge holders; Cosmetic
 5                                                        storage kits including a palette
                                                          empty of cosmetics used for
 6                                                        color matching purposes and
                                                          storage of customized
 7                                                        cosmetic blends in a nonmetal
                                                          storage container; Cosmetic
 8                                                        blending sponge kits
 9                                                        comprising sponges for
                                                          applying makeup and sponge
10                                                        cleanser; Tools for skin care,
                                                          namely, cosmetic brushes.
11
12
            17.    Correct and true printouts of these federal trademark registrations from
13
     the USPTO trademark database are attached hereto as Exhibit A.
14
            18.    U.S. Reg. No. 2,945,105 for the BEAUTYBLENDER Mark has become
15
     incontestable under 15 U.S.C. § 1065.
16
            19.    As a result of its widespread, continuous and exclusive use of the
17
     BEAUTYBLENDER Mark to identify its goods and beautyblender as their source,
18
     beautyblender enjoys valid and subsisting federal and state common law rights to the
19
     BEAUTYBLENDER Mark.
20
            20.    The goods beautyblender offers under the BEAUTYBLENDER Mark
21
     are of high quality. Plaintiff devotes an enormous amount of resources to product
22
     development and quality control and to providing customer service to customers of
23
     its retail channels, all to ensure that the goods it offers are reflective of, and consistent
24
     with, its brand’s prestige.
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                                          COMPLAINT
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 1                               Plaintiff’s Strict Quality Controls
 2          21.    Recognizing the risks to consumers and the reputational damage caused
 3   by the unauthorized sale of non-genuine beautyblender products, beautyblender has
 4   implemented quality controls that apply to its products sold in both brick and mortar
 5   retail settings and online with the twin aims of protecting consumers and the value
 6   and goodwill associated with the BEAUTYBLENDER Mark.
 7          22.    The goal of beautyblender’s quality control program is to ensure that
 8   consumers who purchase beautyblender products receive products that feature all of
 9   the special characteristics that customers have come to expect from products sold
10   under the BEAUTYBLENDER Mark – including the beautyblender warranty,
11   quality, and reliability.
12          23.    The quality controls seek to minimize the likelihood that poor quality
13   products will reach consumers. By preventing consumers from receiving poor quality
14   products, the program both protects consumers from confusion and defective
15   products and also protects the value and goodwill associated with the
16   BEAUTYBLENDER Mark.
17          24.    Plaintiff abides by its quality control requirements and requires its
18   Authorized Dealers to abide by them as well.
19          25.    Plaintiff’s ability to exercise its quality controls is essential to the
20   integrity, quality, and prestige of beautyblender products, as well as the value of the
21   BEAUTYBLENDER Mark and other intellectual property.
22                      Plaintiff’s Limited Manufacturer’s Warranty
23          26.    Plaintiff provides a limited manufacturer’s warranty (the “Warranty”)
24   for beautyblender products sold to end customers by beautyblender directly or by
25   Authorized Dealers. The Warranty provides, for example, that if a beautyblender
26   product is defective, the product may be returned within 30 days of purchase for a
27   full refund or exchange.
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                                          COMPLAINT
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 1         27.    Plaintiff extends its Warranty only to products that were sold by sellers
 2   that were subject to beautyblender’s quality controls and agreed to follow its quality
 3   controls. Because products sold by unauthorized sellers are not subject to
 4   beautyblender’s quality controls and beautyblender can therefore not ensure the
 5   quality of such products, the Warranty is not available for beautyblender products
 6   sold by unauthorized sellers.
 7         28.    Plaintiff’s Warranty is a material element of genuine beautyblender
 8   products. Consumers purchasing beautyblender products would find it relevant to
 9   their purchasing decision to know whether the product they are purchasing is covered
10   by beautyblender’s Warranty.
11                       Plaintiff’s Network of Authorized Dealers
12         29.    Plaintiff maintains its strict quality control over beautyblender products
13   by selling its products exclusively to customers directly or to Authorized Dealers.
14         30.    Plaintiff exercises great care in selecting the Authorized Dealers, and
15   permits Authorized Dealers to sell beautyblender products in specific territories only.
16   Plaintiff requires Authorized Dealers to abide by applicable beautyblender policies
17   and rules relating to quality controls, customer service, and other sales practices.
18         31.    For example, Authorized Dealers are obligated to promptly respond to
19   all inquiries from customers and to permit beautyblender to inspect their inventories,
20   service records, sales records, and other relevant documents.
21         32.    To avoid consumer confusion and ensure that customers receive genuine
22   beautyblender products, Authorized Dealers are prohibited from removing or altering
23   any trade names, trademarks, notices, serial numbers, labels, tags, or other identifying
24   marks, symbols, or legends affixed to any beautyblender products or containers or
25   packages without prior written consent of beautyblender.
26         33.    Authorized Dealers are also obligated to ensure that beautyblender
27   products comply with all labeling and other legal requirements in a dealer’s territory.
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                                        COMPLAINT
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  1   And Authorized Dealers are prohibited from directly shipping beautyblender
  2   products outside of a dealer’s territory or knowingly permitting such activity to be
  3   conducted by any entity.
  4         34.      To allow it to detect counterfeit products, beautyblender places barcodes
  5   on many of its products. Plaintiff’s barcodes allow it to keep track of which specific
  6   products have been sold to a specific Authorized Dealer and alert Authorized Dealers
  7   if specific products ever need to be recalled or receive other attention. The barcodes
  8   also allow beautyblender to determine which Authorized Dealer a specific product
  9   was sold to when a customer complains of poor quality and returns the product with
 10   the barcode.
 11         35.      The purposes of these obligations, restrictions, and practices are to
 12   ensure the integrity, quality, and prestige of beautyblender products, and to ensure
 13   that beautyblender knows who its Authorized Dealers are, which ones are selling in
 14   a given territory, and how to immediately contact them in the event of any product
 15   quality issues.
 16         36.      Plaintiff’s quality control requirements and network of Authorized
 17   Dealers are legitimate, substantial, and non-pretextual and have been implemented
 18   so that beautyblender can control the quality of goods manufactured and sold under
 19   the BEAUTYBLENDER Mark, which protects consumers and the value and
 20   goodwill associated with the BEAUTYBLENDER Mark.
 21         37.      Plaintiff’s quality control requirements are also material because they
 22   are designed to protect consumers and prevent them from receiving poor quality
 23   products that could deceive them or cause harm to beautyblender’s reputation and
 24   goodwill.
 25         38.      Consumers consider it material and relevant to their purchasing decision
 26   to know whether a beautyblender product is being sold by an Authorized Dealer that
 27   is subject to beautyblender’s quality control requirements or whether it is being sold
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                                          COMPLAINT
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  1   by an unauthorized seller that is not subject to and does not abide by beautyblender’s
  2   quality controls and over whom beautyblender is unable to exercise its quality
  3   controls.
  4         Plaintiff’s Relationship and Distribution Agreement with New Flag
  5         39.    New Flag has been an Authorized Dealer of beautyblender products in
  6   Germany, Austria, and Switzerland since about 2014.
  7         40.    On January 1, 2018, Plaintiff entered into a new distribution agreement
  8   with New Flag (the “Distribution Agreement”) and appointed New Flag as the
  9   distributor of beautyblender products in Germany, Austria, and Switzerland, as well
 10   as in the Czech Republic and Slovakia, (collectively, “the New Flag Territory”). A
 11   true and correct copy of the Distribution Agreement is attached as Exhibit B.
 12         41.    Pursuant to the Distribution Agreement, New Flag agreed not to directly
 13   ship beautyblender products outside of the New Flag Territory or knowingly permit
 14   such activity to be conducted by any entity. New Flag also agreed not to actively
 15   advertise, promote or solicit customers for beautyblender products outside the New
 16   Flag Territory. In addition, New Flag agreed not to establish any office through which
 17   orders are solicited or any depot at which inventories of beautyblender products are
 18   stored outside the New Flag Territory.
 19         42.    Pursuant to the Distribution Agreement, New Flag agreed that activities
 20   outside the New Flag Territory are considered a material breach of the Distribution
 21   Agreement.
 22         43.    Pursuant to the Distribution Agreement, New Flag also covenanted and
 23   warranted that it would not engage in any action or activity that would result in the
 24   purposes of the Distribution Agreement or New Flag’s obligations under the
 25   Distribution Agreement.
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                                        COMPLAINT
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  1                The beautyblender Products Distributed by New Flag are
                            Intended for the New Flag Territory
  2
            44.     Plaintiff manufactures its beautyblender products for many different
  3
      countries, including the United States and the countries that make up the New Flag
  4
      Territory.
  5
            45.     The beautyblender products supplied to New Flag for sale in the New
  6
      Flag Territory are materially different from the beautyblender products sold by
  7
      beautyblender and its Authorized Dealers in the United States.
  8
            46.     For example, the BEAUTYBLENDER brand sponge applicator is sold
  9
      within a canister containing the sponge itself and a product insert with instructions
 10
      on how to use and care for the product. For products intended for sale in the United
 11
      States, the instructions on the product insert are in English. By contrast, for products
 12
      intended for sale in the New Flag Territory, the instructions are in German.
 13
            47.     As a result of such differences, the sale of beautyblender products
 14
      intended for the New Flag Territory to end customers in the United States (e.g.,
 15
      resulting in a United States customer receiving a BEAUTYBLENDER brand sponge
 16
      with a German-language insert) will cause confusion over the source of the products
 17
      and result in a loss of beautyblender’s goodwill.
 18
            48.     Upon information and belief, New Flag has known since at least 2014
 19
      that the beautyblender products supplied to New Flag for distribution are intended
 20
      for sale in the New Flag Territory and outside the United States.
 21
                      New Flag’s Breach of the Distribution Agreement
 22
            49.     To ensure that Authorized Dealers adhere to beautyblender’s quality
 23
      control requirements and restrictions on authorized sales, beautyblender regularly
 24
      monitors sales of its products.
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 26
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                                         COMPLAINT
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  1         50.    In the course of this monitoring, beautyblender discovered that products
  2   bearing the BEAUTYBLENDER Mark were being illegally sold in the United States
  3   in Costco retail stores and on www.costco.com.
  4         51.    Costco, including Costco Wholesale Corporation and its subsidiaries, is
  5   not an Authorized Dealer of beautyblender products.
  6         52.    Plaintiff also discovered that products bearing the BEAUTYBLENDER
  7   Mark were being illegally sold in the United States in T.J. Maxx retail stores and on
  8   www.tjmaxx.tjx.com.
  9         53.    T.J. Maxx, including The TJX Companies, Inc. and its subsidiaries, is
 10   not an Authorized Dealer of beautyblender products.
 11         54.    Plaintiff’s investigation uncovered that the products bearing the
 12   BEAUTYBLENDER Mark being sold by T.J. Maxx were supplied by White
 13   Diamond Cosmetics, Ltd. of New Brunswick, New Jersey.
 14         55.    White Diamond Cosmetics, Ltd., including any subsidiaries and anyone
 15   purporting to act on its behalf, is not an Authorized Dealer of beautyblender products.
 16         56.    In about October, 2018, Plaintiff purchased sample products bearing the
 17   BEAUTYBLENDER Mark from Costco on www.costco.com. The products, such as
 18   applicator sponges, had been placed inside a plastic, clamshell packaging using an
 19   adhesive at the bottom of the outer canister containing the sponge. When Plaintiff
 20   removed the canister from the packaging, the barcode affixed to the bottom of the
 21   canister became torn and damaged, such that it was unreadable.
 22         57.    Photographs showing a sample product in the clamshell packaging, the
 23   adhesive used in the packaging, and the damaged barcode on the bottom of the
 24   product canister, are reproduced below:
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                                         COMPLAINT
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 10         58.   Using the barcodes on other of the sample products purchased from
 11   Costco in the United States, beautyblender was able to determine that the products
 12   were originally supplied to New Flag for distribution in the New Flag Territory.
 13         59.   In about April, 2019, Plaintiff purchased sample products bearing the
 14   BEAUTYBLENDER Mark from T.J. Maxx on www.tjmaxx.tjx.com. The products
 15   Plaintiff received were materially altered and had been subjected to tampering by
 16   having certain anti-counterfeiting measures removed. The products also contained
 17   German-language inserts.
 18         60.   Using the barcodes on products purchased from T.J. Maxx in the United
 19   States, beautyblender was able to determine that the products were originally
 20   supplied to New Flag for distribution in the New Flag Territory.
 21         61.   Upon information and belief, New Flag has and continues to actively
 22   and knowingly distribute, promote, offer for sale, and/or sell products bearing the
 23   BEAUTYBLENDER Mark to Costco, T.J. Maxx, White Diamond Cosmetics, Ltd.,
 24   and other unauthorized dealers (the “Unauthorized Dealers”) for importation into and
 25   sale within the United States (and outside the New Flag Territory).
 26         62.   Such conduct constitutes, among other things, a material breach of the
 27   Distribution Agreement.
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                                        COMPLAINT
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  1
                   New Flag’s Distribution of Gray Market Goods and
  2            Contributory Infringement of the BEAUTYBLENDER Mark
  3         63.    Because there are material differences between beautyblender products
  4   sold in the United States by beautyblender and its Authorized Dealers, on the one
  5   hand, and products bearing the BEAUTYBLENDER Mark sold in the United States
  6   by the Unauthorized Dealers, on the other hand, the products sold by the
  7   Unauthorized Dealers are not “genuine.” Rather, they constitute illegal gray market
  8   goods.
  9         64.    For example, the products sold by the Unauthorized Dealers are
 10   “materially different” because beautyblender is deprived of the means to control their
 11   quality or to respond to customer complaints and negative reviews.
 12         65.    In this regard, the Unauthorized Dealers do not comply with
 13   beautyblender’s quality control requirements because they have not disclosed to
 14   beautyblender where they acquire products that bear the BEAUTYBLENDER Mark.
 15         66.    Upon information and belief, the Unauthorized Dealers do not comply
 16   with beautyblender’s quality control requirements because they sell products bearing
 17   the BEAUTYBLENDER Mark that arrive in packaging adhered to the product
 18   barcode such that opening the product renders the barcode unreadable.
 19         67.    Upon information and belief, the Unauthorized Dealers do not comply
 20   with beautyblender’s quality control requirements because they sell products bearing
 21   the BEAUTYBLENDER Mark that have been materially altered and subjected to
 22   tampering by having anti-counterfeiting measures removed.
 23         68.    Upon information and belief, the Unauthorized Dealers do not comply
 24   with beautyblender’s quality control requirements because they sell products bearing
 25   the BEAUTYBLENDER Mark that were intended for sale outside the United States
 26   and contain foreign-language inserts.
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                                        COMPLAINT
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  1         69.   The Unauthorized Dealers’ failure to abide by beautyblender’s quality
  2   control requirements prevents beautyblender from exercising control over the quality
  3   of products the Unauthorized Dealers sell bearing the BEAUTYBLENDER Mark.
  4   Plaintiff cannot audit the Unauthorized Dealers to ensure they are complying with
  5   beautyblender’s quality controls and/or close any Unauthorized Dealer account for
  6   failing to comply with beautyblender’s quality control requirements.
  7         70.   The Unauthorized Dealers also do not comply with beautyblender’s
  8   customer service requirements because they are not qualified nor have they been
  9   trained by beautyblender to accurately describe, demonstrate, and sell the products
 10   in their inventory and advise customers on the safe and proper use and care of
 11   beautyblender products.
 12         71.   The Unauthorized Dealers also do not comply with beautyblender’s
 13   customer service requirements because they do not, and are unable to, provide the
 14   ongoing support and responses to consumer inquiries that beautyblender requires of
 15   its Authorized Dealers.
 16         72.   The Unauthorized Dealers do not comply with beautyblender’s
 17   customer service requirements because they do not take appropriate steps to address
 18   negative reviews from customers and do not cooperate with beautyblender in
 19   investigating negative product reviews.
 20         73.   The products bearing the BEAUTYBLENDER Mark sold by the
 21   Unauthorized Dealers are also materially different from genuine beautyblender
 22   products because they are not covered by beautyblender’s Warranty.
 23         74.   On information and belief, New Flag has actual knowledge that the
 24   Unauthorized Dealers are not Authorized Dealers of beautyblender products and do
 25   not comply with beautyblender’s quality control and customer service requirements.
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                                       COMPLAINT
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  1           75.   On information and belief, New Flag has actual knowledge that the
  2   products bearing the BEAUTYBLENDER Mark sold by the Unauthorized Dealers
  3   are not covered by beautyblender’s Warranty.
  4           76.   On information and belief, New Flag has actual knowledge that it is
  5   distributing products bearing the BEAUTYBLENDER Mark to Unauthorized
  6   Dealers that are importing and selling the products in the United States.
  7           77.   On information and belief, New Flag has actual knowledge that it is
  8   distributing gray market goods.
  9           78.   New Flag’s unauthorized distribution of gray market goods bearing the
 10   BEAUTYBLENDER Mark is likely to, and does, create customer confusion because
 11   customers who purchase products from the Unauthorized Dealers in the United States
 12   believe they are purchasing genuine beautyblender products when, in fact, they are
 13   not.
 14           79.   Despite these facts, New Flag has sold, and continues to sell, products
 15   bearing the BEAUTYBLENDER Mark to Unauthorized Dealers with knowledge that
 16   the Unauthorized Dealers are engaging in infringement of the BEAUTYBLENDER
 17   Mark.
 18           80.   Such conduct constitutes, among other things, contributory trademark
 19   infringement.
 20                        Plaintiff’s Suffering of Significant Harm
 21           81.   As set forth above, the unauthorized sale of products bearing the
 22   BEAUTYBLENDER Mark through the Unauthorized Dealers has caused significant
 23   harm to the BEAUTYBLENDER brand.
 24           82.   When a consumer receives a poor quality, defective, counterfeit, or
 25   tampered-with product from an Unauthorized Dealer, the consumer associates that
 26   negative experience with beautyblender. As a result, the ongoing sale of unauthorized
 27
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                                        COMPLAINT
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  1   products bearing the BEAUTYBLENDER Mark harms the BEAUTYBLENDER
  2   brand.
  3            83.   Plaintiff has suffered and will continue to suffer significant monetary
  4   harm as a result of New Flag’s actions including, but not limited to, loss of sales,
  5   damage to its intellectual property, and damage to its existing and potential business
  6   relations.
  7            84.   Plaintiff has suffered, and will continue to suffer, irreparable harm as a
  8   result of New Flag’s actions, including, but not limited to, irreparable harm to its
  9   reputation, goodwill, business and customer relationships, intellectual property rights
 10   and brand integrity.
 11            85.   Plaintiff is entitled to injunctive relief because, unless enjoined by this
 12   Court, New Flag will continue to unlawfully distribute products bearing the
 13   BEAUTYBLENDER Mark to Unauthorized Dealers for importation and sale in the
 14   United States, causing continued irreparable harm to beautyblender’s reputation,
 15   goodwill, relationships, intellectual property and brand integrity.
 16            86.   New Flag’s conduct was and is knowing, intentional, willful, malicious,
 17   wanton and contrary to law.
 18            87.   New      Flag’s    willful        contributory   infringement    of    the
 19   BEAUTYBLENDER Mark and continued pattern of misconduct demonstrate intent
 20   to harm beautyblender.
 21                               FIRST CAUSE OF ACTION
                           Breach of Contract – Distribution Agreement
 22
               88.   Plaintiff hereby incorporates the allegations set forth in the foregoing
 23
      paragraphs as if fully set forth herein.
 24
               89.   New Flag entered into the Distribution Agreement with beautyblender
 25
      whereby New Flag agreed, e.g., (i) not to directly ship beautyblender products outside
 26
      of the New Flag Territory or knowingly permit such activity to be conducted by any
 27
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                                           COMPLAINT
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 19 of 49 Page ID #:19



  1   entity; (ii) not to actively advertise, promote or solicit customers for beautyblender
  2   products outside the New Flag Territory; and (iii) not to establish any office through
  3   which orders are solicited or any depot at which inventories of beautyblender
  4   products are stored outside the New Flag Territory.
  5         90.      New Flag agreed that activities outside the New Flag Territory are
  6   considered a material breach of the Distribution Agreement.
  7         91.      New Flag also covenanted and warranted that it would not engage in
  8   any action or activity that would result in the purposes of the Distribution Agreement
  9   or New Flag’s obligations under the Distribution Agreement.
 10         92.      As set forth more fully above, New Flag materially breached the
 11   Distribution     Agreement      by      directly   shipping   products   bearing   the
 12   BEAUTYBLENDER Mark to Costco, T.J. Maxx, White Diamond Cosmetics, Ltd.,
 13   and other Unauthorized Dealers outside the New Flag Territory, and/or knowingly
 14   permitting such activity by the Unauthorized Dealers.
 15         93.      As set forth more fully above, New Flag has also breached the
 16   Distribution Agreement by actively advertising, promoting or soliciting
 17   Unauthorized Dealers for beautyblender products outside the New Flag Territory.
 18         94.      Plaintiff has honored and complied with all of its obligations with
 19   respect to the Distribution Agreement.
 20         95.      Plaintiff has been damaged by reason of the breaches of contract by New
 21   Flag and is entitled to monetary relief in an amount to be determined at trial, plus
 22   interest, costs, and attorneys’ fees.
 23         96.      Plaintiff suffered and continues to suffer irreparable harm not fully
 24   compensable by monetary damages.
 25         97.      Plaintiff is entitled to injunctive relief enjoining New Flag from
 26   distributing beautyblender products outside the New Flag Territory.
 27
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                                           COMPLAINT
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  1                            SECOND CAUSE OF ACTION
                   Breach of the Covenant of Good Faith and Fair Dealing
  2
            98.    Plaintiff hereby incorporates the allegations set forth in the foregoing
  3
      paragraphs as if fully set forth herein.
  4
            99.    New Flag entered into the Distribution Agreement with beautyblender
  5
      whereby New Flag agreed, e.g., (i) not to directly ship beautyblender products outside
  6
      of the New Flag Territory or knowingly permit such activity to be conducted by any
  7
      entity; (ii) not to actively advertise, promote or solicit customers for beautyblender
  8
      products outside the New Flag Territory; and (iii) not to establish any office through
  9
      which orders are solicited or any depot at which inventories of beautyblender
 10
      products are stored outside the New Flag Territory.
 11
            100. By reason of the Distribution Agreement, New Flag covenanted and
 12
      agreed to perform its obligations fairly and in good faith including, but not limited
 13
      to, an obligation to not distribute beautyblender products outside of the New Flag
 14
      Territory.
 15
            101. As set forth more fully above, New Flag breached its covenant of good
 16
      faith and fair dealing by intentionally distributing, and attempting to distribute,
 17
      beautyblender products to Unauthorized Dealers outside of the New Flag Territory
 18
      and by failing to accurately disclose such activities to beautyblender.
 19
            102. Plaintiff has been damaged by reason of the breaches by New Flag and
 20
      is entitled to monetary relief in an amount to be determined at trial, plus interest,
 21
      costs, and attorneys’ fees.
 22
                             THIRD CAUSE OF ACTION
 23           Contributory Trademark Infringement Under Section 32 of the
 24                      Federal Lanham Act, 15 U.S.C. § 1114
            103. Plaintiff hereby incorporates the allegations set forth in the foregoing
 25
      paragraphs as if fully set forth herein.
 26
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                                                 20
                                          COMPLAINT
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 21 of 49 Page ID #:21



  1         104. Plaintiff owns valid and enforceable federal trademark registrations for
  2   the BEAUTYBLENDER Mark. See Exhibit A.
  3         105. The Unauthorized Dealers’ use of the BEAUTYBLENDER Mark
  4   within the United States on products that are materially different from Plaintiff’s
  5   genuine products has caused or is likely to continue to cause confusion, to cause
  6   mistake, or to deceive.
  7         106. Upon information and belief, New Flag had and continues to have actual
  8   knowledge of the infringing conduct of the Unauthorized Dealers, and has aided,
  9   encouraged, and facilitated such conduct.
 10         107. Upon information and belief, New Flag has continued to supply
 11   products bearing the BEAUTYBLENDER Mark to the Unauthorized Dealers even
 12   after it knew that the Unauthorized Dealers were engaging in trademark
 13   infringement.
 14         108. As a direct and proximate result of New Flag’s contributory trademark
 15   infringement, Plaintiff has suffered damages in an amount to be determined at trial.
 16         109. Pursuant to Section 34 of the Lanham Act, 15 U.S.C. § 1116, Plaintiff
 17   is entitled to injunctive relief to prevent damage to Plaintiff and to prohibit New Flag
 18   from further violations of the Lanham Act.
 19         110. Furthermore, pursuant to Section 35 of the Lanham Act, 15 U.S.C. §
 20   1117(a), Plaintiff is entitled to monetary damages, New Flag’s profits, costs, and
 21   prejudgment interest.
 22         111. This is an exceptional case under Section 35 of the Lanham Act, 15
 23   U.S.C. § 1117(a), entitling Plaintiff to recover its attorneys’ fees and up to three times
 24   its actual damages.
 25                           THIRD CAUSE OF ACTION
            Contributory Unfair Competition and False Designation of Origin
 26         Under Section 43(a) of the Federal Lanham Act, 15 U.S.C. §1125(a)
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                                          COMPLAINT
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  1         112. Plaintiff hereby incorporates the allegations set forth in the foregoing
  2   paragraphs as if fully set forth herein.
  3         113. Through exclusive use of the BEAUTYBLENDER Mark for nearly
  4   fifteen years, Plaintiff has developed extensive goodwill in the Mark, which goodwill
  5   is protected by, inter alia, Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
  6         114. By the actions alleged above with respect to the importation and sales
  7   in the United States of BEAUTYBLENDER-branded products intended for the New
  8   Flag Territory, the Unauthorized Dealers have used in commerce a word, term,
  9   symbol or device that is a false designation of origin or a false or misleading
 10   description of fact.
 11         115. The Unauthorized Dealers’ promotion, advertising, and sales of “gray
 12   market” products bearing the BEAUTYBLENDER Mark have caused and are likely
 13   to continue to cause confusion, mistake or deception as to the origin, sponsorship or
 14   approval of the products such that consumers mistakenly believe they are purchasing
 15   genuine beautyblender products.
 16         116. The Unauthorized Dealers’ promotion, advertising, and sales of “gray
 17   market” products bearing the BEAUTYBLENDER Mark constitute false designation
 18   of origin in violation of Section 43(a)(1)(A) of the Lanham Act, as amended, 15
 19   U.S.C. § 1125(a)(1)(A).
 20         117. Upon information and belief, New Flag had and continues to have actual
 21   knowledge of the infringing conduct of the Unauthorized Dealers, and has aided,
 22   encouraged, and facilitated such conduct.
 23         118. Upon information and belief, New Flag has continued to supply
 24   products bearing the BEAUTYBLENDER Mark to the Unauthorized Dealers even
 25   after it knew that the Unauthorized Dealers were engaging in unfair competition and
 26   false designation of origin.
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                                          COMPLAINT
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  1         119. As a direct and proximate result of New Flag’s contributory unfair
  2   competition and false designation of origin, Plaintiff has suffered damages in an
  3   amount to be determined at trial.
  4         120. Pursuant to Section 34 of the Lanham Act, 15 U.S.C. § 1116, Plaintiff
  5   is entitled to injunctive relief to prevent damage to Plaintiff and to prohibit New Flag
  6   from further violations of the Lanham Act.
  7         121. Furthermore, pursuant to Section 35 of the Lanham Act, 15 U.S.C. §
  8   1117(a), Plaintiff is entitled to monetary damages, New Flag’s profits, costs, and
  9   prejudgment interest.
 10         122. This is an exceptional case under Section 35 of the Lanham Act, 15
 11   U.S.C. § 1117(a), entitling Plaintiff to recover its attorneys’ fees and up to three times
 12   its actual damages.
 13                                 PRAYER FOR RELIEF
 14         WHEREFORE, Plaintiff prays that the Court order the following relief:
 15         a.     A judgment entered in favor of Plaintiff on the counts asserted herein;
 16         b.     An injunction enjoining Defendant and its employees, agents,
 17                representatives, distributors, dealers, related companies and d/b/a’s, and
 18                all persons in active concert or participation with any of them, from
 19                distributing products bearing the BEAUTYBLENDER Mark outside the
 20                New Flag Territory;
 21         c.     An injunction enjoining Defendant and its employees, agents,
 22                representatives, distributors, dealers, related companies and d/b/a’s, and
 23                all persons in active concert or participation with any of them, from
 24                aiding, encouraging, or facilitating in the importation, marketing,
 25                offering for sale, selling, advertising, promoting, or distributing any
 26                “gray market” beautyblender products in the United States;
 27
 28
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                                          COMPLAINT
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 24 of 49 Page ID #:24



  1         d.     An order requiring the impounding and eventual destruction of
  2                infringing goods distributed by Defendant;
  3         e.     An order requiring delivery to Plaintiff of Defendant’s records
  4                documenting       the     purchase,   acquisition,   receipt,   importation,
  5                manufacture, sale, servicing or distribution of things involved in
  6                violations alleged herein;
  7         f.     Damages, exemplary damages, and disgorgement of profits in an
  8                amount to be proven at trial;
  9         g.     A declaration that this is an exceptional case;
 10         h.     Full costs, attorneys’ fees, and pre- and post-judgment interest to the full
 11                extent permissible by law; and
 12         i.     Such other and further relief as the Court deems just and proper.
 13
 14                                        JURY DEMAND
 15         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands
 16   a trial by jury on all claims and issues so triable.
 17
 18
 19   Dated: May 22, 2019
                                           William B. DeClercq, SBN 240538
 20
                                           TAYLOR ENGLISH DUMA LLP
 21                                        1055 West Seventh Street, Suite 3300
                                           Los Angeles, CA 90017
 22
                                           Telephone: (626) 408-2150
 23                                        wdeclercq@taylorenglish.com
 24
                                           Coby S. Nixon (pro hac vice application
 25                                        forthcoming)
 26                                        TAYLOR ENGLISH DUMA LLP
                                           1600 Parkwood Circle, Suite 200
 27                                        Atlanta, GA 30339
 28
                                                 24
                                            COMPLAINT
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 25 of 49 Page ID #:25



  1                                 Telephone: (770) 434-6868
  2                                 Facsimile: (770) 434-7376
                                    cnixon@taylorenglish.com
  3
  4                                 Counsel for Plaintiff
                                    Rea.deeming Beauty Inc. d/b/a beautyblender
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                                     COMPLAINT
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        EXHIBIT A
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 27 of 49 Page ID #:27




      Int. CI.: 21

      Prior U.S. Cls.: 2, 13, 23, 29, 30, 33, 40, and 50
                                                                                       Reg. No. 2,945,105
      United States Patent and Trademark Office                                          Registered Apr. 26, 2005



                                                  TRADEMARK
                                             PRINCIPAL REGISTER




                                              BEAUTYBLENDER




      SILENZ BEAUTY, INC. (CALIFORNIA                 COR       FIRST USE 7-1-2004; IN COMMERCE 7-1-2004.
         PORATION)
      899 SOUTH RAINBOW BLVD.
      SUITE 612
                                                                SN 78-267,224, FILED 6-26-2003.
      LAS VEGAS, NV 89145

        FOR: SPONGE APPLICATOR FOR MAKEUP, IN
      CLASS 21 (U.S. CLS. 2, 13, 23, 29, 30, 33, 40 AND 50).   NICHOLAS ALTREE, EXAMINING ATTORNEY
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 28 of 49 Page ID #:28




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                      beautyblender
   Reg. No. 4,719,164                 REA. DEEMING BEAUTY, INC. (CALIFORNIA CORPORATION), DBA BEAUTYBLENDER
                                      SUITE 280
   Registered Apr. 14, 2015 3864 courtney street
                                      BETHLEHEM, PA 18017
   Int. Cls.: 3, 18 and 21
                                      FOR: NON-MEDICATED CLEANSERS, NAMELY, CLEANSERFOR CLEANING COSMETIC
                                      SPONGE APPLICATORS AND MAKE UP BRUSHES, IN CLASS 3 (U.S. CLS. 1, 4, 6, 50, 51
   TRADEMARK                          AND 52).


   PRINCIPAL REGISTER                 FIRST USE 7-1-2005; IN COMMERCE 7-1-2005.


                                      FOR: COSMETIC CASES SOLD EMPTY; TRAVEL CASES; VANITY CASES SOLD EMPTY;
                                      POUCHES FOR HOLDING MAKEUP ACCESSORIES SOLD EMPTY; MAKEUP ACCESSORY
                                      CARRYING CASES SOLD EMPTY, IN CLASS 18 (U.S. CLS. 1, 2, 3, 22 AND 41).


                                      FIRST USE 1-1-2012; IN COMMERCE 1-1-2012.


                                      FOR: SPONGE APPLICATOR FOR APPLYING MAKEUP; SPONGES USED FOR APPLYING
                                      MAKEUP; SPONGE HOLDERS; COSMETIC STORAGE KITS INCLUDING A PALETTE
                                      EMPTY OF COSMETICS USED FOR COLOR MATCHING PURPOSES AND STORAGE OF
                                      CUSTOMIZED COSMETIC BLENDS INA NONMETAL STORAGE CONTAINER; COSMETIC
                                      BLENDING SPONGE KITS           COMPRISING SPONGES FOR APPLYING MAKEUP AND
                                      SPONGE CLEANSER; TOOLS FOR SKIN CARE, NAMELY, MAKEUP BRUSHES, IN CLASS
                                      21 (U.S. CLS. 2, 13, 23, 29, 30, 33, 40 AND 50).
             35
                          $
         s                 9,         FIRST USE 7-1-2004; IN COMMERCE 7-1-2004.
                           2
         I                 P3

                                      THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR
          8.V                         TICULAR FONT, STYLE, SIZE, OR COLOR.


                                      OWNER OF U.S. REG. NO. 2,945,105.


                                      SER. NO. 86-238,817, FILED 4-1-2014.


                                      MARK SPARACINO, EXAMINING ATTORNEY
     Director of the United States
     Patent and Trademark Office
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 29 of 49 Page ID #:29




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                      beautyblender

   Reg. No. 4,719,175                REA.DEEMING BEAUTY, ETC. (CALIFORNIA CORPORATION), DBA BEAUTYBLENDER
                                     SUITE 280
   Registered Apr. 14, 2015 3864 courtney street
      ~                              BETHLEHEM. PA 18017
   Int. Cls.: 3, 18 and 21
                                     FOR: NON-MEDICATED CLEANSERS, NAMELY CLEANSERFOR CLEANING COSMETIC
                                     SPONGE APPLICATORS AND MAKE UP BRUSHES. IN CLASS 3 (U.S. CLS. 1. 4. 6. 50. 51
   TRADEMARK                         AND 52).


   PRINCIPAL REGISTER                FIRST USE 7-1-2005; IN COMMERCE 7-1-2005.


                                     FOR: COSMETIC CASES SOLD EMPTY TRAVEL CASES; VANITY CASES SOLD EMPTY;
                                     POUCHES FOR HOLDING MAKEUP ACCESSORIES SOLD EMPTY MAKEUP ACCESSORY
                                     CARRYING CASES SOLD EMPTY. IN CLASS 18 (U.S. CLS. 1. 2, 3,, 22 AND 41).


                                     FIRST USE 1-1-2012; IN COMMERCE 1-1-2012.


                                     FOR: SPONGE APPLICATOR FOR APPLYING MAKEUP; SPONGES USED FOR APPLYING
                                     MAKEUP; SPONGE HOLDERS; COSMETIC STORAGE KITS INCLUDING A PALETTE
                                     EMPTY OF COSMETICS USED FOR COLOR MATCHING PURPOSES AND STORAGE OF
                                     CUSTOMIZED COSMETIC BLENDS INA NONMETAL STORAGE CONTAINER; COSMETIC
                                     BLENDING SPONGE: KITS COMPRISING SPONGES FOR APPLYING MAKEUP AND
                                     SPONGE CLEANSER; TOOLS FOR SKIN CARE. NAMELY. COSMETIC BRUSHES, IN CLASS
                                     21 (U.S. CLS. 2, 13. 23, 29. 30. 33. 40 AND 50).
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          a
          3                  9,      FIRST USE 7-1-2004; IN COMMERCE 7-1-2004.
                             2
          I
                                     OWNER OF U.S. REG. NO. 2,945.105.
          Si
              A
                                     THE MARK CONSISTS OF             THE STYLIZED LETTERING   OF   THE WORD   "BEAU
                                     TYBLENDER".


                                     SER. NO. 86-242,868, FILED 4-4-2014.


                                     MARK SPARACINO, EXAMINING ATTORNEY
     Director of the United States
     Patent and Trademark Office
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 30 of 49 Page ID #:30




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                                       '{original            ...                           .
                                        oeautyblender


   Reg. No. 4,719,170                   REA.DEEMING BEAUTY, ETC. (CALIFORNIA CORPORATION). DBA BEAUTYBLENDER
                                        SUITE 280
   Registered Apr. 14, 2015 3864 courtney street
      ~                                 BETHLEHEM. PA 18017
   Int. Cls.: 3, 18 and 21
                                        FOR: NON-MEDICATED CLEANSERS, NAMELY CLEANSERFOR CLEANING COSMETIC
                                        SPONGE APPLICATORS AND MAKE UP BRUSHES. IN CLASS 3 (U.S. CLS. 1. 4. 6. 50. 51
   TRADEMARK                            AND 52).


   PRINCIPAL REGISTER                   FIRST USE 7-1-2005- IN COMMERCE 7-1-2005.


                                        FOR: COSMETIC CASES SOLD EMPTY TRAVEL CASES; VANITY CASES SOLD EMPTY;
                                        POUCHES FOR HOLDING MAKEUP ACCESSORIES SOLD EMPTY MAKEUP ACCESSORY
                                        CARRYING CASES SOLD EMPTY. IN CLASS 18 (U.S. CLS. 1. 2, 3,, 22 AND 41).


                                        FIRST USE 1-1-2012; IN COMMERCE 1-1-2012.


                                        FOR: SPONGE APPLICATOR FOR APPLYING MAKEUP; SPONGES USED FOR APPLYING
                                        MAKEUP; SPONGE HOLDERS; COSMETIC STORAGE KITS INCLUDING A PALETTE
                                        EMPTY OF COSMETICS USED FOR COLOR MATCHING PURPOSES AND STORAGE OF
                                        CUSTOMIZED COSMETIC BLENDS INA NONMETAL STORAGE CONTAINER; COSMETIC
                                        BLENDING SPONGE: KITS COMPRISING SPONGES FOR APPLYING MAKEUP AND
                                        SPONGE CLEANSER; TOOLS FOR SKIN CARE. NAMELY. COSMETIC BRUSHES. IN CLASS
                                        21 (U.S. CLS. 2, 13. 23. 29. 30. 33. 40 AND 50).
                        m.
          a
          3                  9,         FIRST USE 7-1-2004; IN COMMERCE 7-1-2004.
                             2
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                                        OWNER OF U.S. REG. NO. 2,945.105.
          Si
              A
                                        NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ORIGINAL" ,, APART FROM
                                        THE MARK AS SHOWN.


                                        THE MARK CONSISTS OF THE WORD "THE" IN CURSIVE FONT TO THE LEFT OF THE
                                        WORD "ORIGINAL" IN NONCURSIVE F ONE BOTH OF SAID WORDS POSITIONED ABOVE
                                        THE WORE) "BEAUTYBLENDER" WHICHIS IN LARGER FONT. THE WORDS "ORIGINAL"
     Director of the United States      AND "BEAUTYBLENDER" ARE IN THE SAME FONT.
     Patent and Trademark Office
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        Reg. No. 4,719,170 ser.no. 86-24 1,63.8, filed 4-3-2014.
                                MARK SPARACINO. EXAMINING ATTORNEY




                                           Page: 2 / RN # 4,719,170
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 32 of 49 Page ID #:32




         EXHIBIT B
Case 2:19-cv-04511-JAK-FFM Document 1 Filed 05/23/19 Page 33 of 49 Page ID #:33




                                                        Distribution Agreement


              This Distribution Agreement (the "Agreement"), made and entered into as of January 1, 2018, by and
 between Rea.deeming Beauty, Inc., ("Company"), a corporation duly organized under the laws of the State of
 California U.S.A., and New Flag GMBH. ("Distributor") a corporation duly organized under the laws of
 Germany.


              WHEREAS, Company manufactures and markets certain products and desires to market in territory as
 defined herein, such products;


              WHEREAS, Distributor has represented expressed a desire and willingness to promote and market such
 products; and


              WHEREAS, Company is willing to appoint Distributor and Distributor is willing to accept such
 appointment as distributor of Company's products in the territory defined herein;


              NOW, THEREFORE, in consideration of the mutual premises and covenants hereinafter set forth, the
 parties agree as follows:


         1.    DEFINITIONS.            For purposes of this Agreement, the following terms shall have the following
               meanings:


        1.1. "Agreement" shall mean collectively this Distribution Agreement together with all Schedules and
               Exhibits hereto and the Standard Terms and Conditions affixed hereto.


        1 .2. "Distributor" shall mean New Flag GMBH and its subsidiaries, parent companies, and assigns.


        1 .3. "Distributor List Price" shall mean the prices in effect as of the date hereof as set forth in Exhibit A.


        1.4. "Products" shall mean any and all cosmetics, skin care, nail care, hair care, and any and all other
               products manufactured, offered for sale, and/or sold by Company now and in the future. Company's
               current list of the Products is set forth on Exhibit A.


        1 .5. "Company" will mean Rea.deeming Beauty, Inc. and its subsidiaries, parent companies, and assigns.


        1.6. "Company Information" will mean any and all confidential and/or proprietary knowledge, data or
               information of Company, its principals or affiliates and any and all confidential and/or proprietary
               knowledge, data or information which Company has obtained or obtains from another party and which
               Company treats as proprietary or designates (whether or not in writing) as confidential information.
               By way of illustration, but not limitation, "Company Information" includes tangible and intangible
               information relating in any way to Company's markets, customers, inventions, procedures, designs,
               strategies,    plans,   assets,   liabilities,   costs,       revenues,   profits,   organization,   employees,   agents,
               distributors or business in general, the Products, ancillary or related products, web sites, methods of
               production and/or modifications, formulations, compilations, programs, devices, methods, techniques,
               processes, know-how, business relationships, contact information for industry professionals, formulas,
               developmental or experimental work, improvements, discoveries, potential new or supplemental or
               ancillary products, business plans, budgets and unpublished financial statements, licenses, prices and
               costs, vendors, collaborators and customers, information regarding the skills and compensation of
               employees and contractors of Company, trademarks, copyrights, patents, trade secrets, copyrightable
               material, trademarkable material, patentable material, databases and any other information or material
               considered proprietary by Company, designated as confidential information by Company, not
               generally known by the public, or which derives independent economic value (actual or potential)

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               from not being generally known to the public or persons unaffiliated with Company and which is
               subject of efforts by Company that are reasonable under the circumstances to maintain its secrecy.


        1.7. "Territory" shall mean Germany, Austria, Switzerland, Czech Republic, Slovakia


         2.    APPOINTMENT


        2.1. Scope.       Company hereby appoints Distributor, and Distributor hereby accepts appointment, as
              Company's distributor during the Term of this Agreement with the exclusive right to market, sell or
              otherwise distribute the Products in the Territory, under Company's name, logotypes, and trademarks,
              subject to all the terms and conditions of this Agreement.


        2.2. Exclusivity. Subject to Distributor's satisfaction of its obligations hereunder, Company shall not grant
              any entity the right to market, sell, or otherwise distribute the Products in the Territory during the
              Term of this Agreement, whether as a distributor, agent, representative, or reseller.         Subject to
              Distributor's satisfaction of its obligations hereunder, Company shall not knowingly permit any other
              distributor of Company to directly advertise, market, sell or distribute the Products in the Territory.
              Company shall not knowingly allow other Company's distributors or agents to cross ship into the
              Territory. Company shall not ship directly to any retailer in the territory. Sephora and Travel Retail
              are exceptions to the exclusivity clause and are considered house accounts, beautyblender
              supplies the product to these retailers direct.


        2.3. Subdistributors.    Distributor may appoint sub-distributors or agents to market, promote, sell and/or
              distribute the Products in any country within the Territory; subject to satisfaction of all of the
              following pre-conditions: (i) .prior to such appointment becoming effective, Distributor shall have
              given Company at least twenty (20) days' prior written notice, which notice shall set forth the name,
              address, telephone and fax number, email address and contact person for such sub-distributor or agent,
              as applicable, and (ii) Company shall have received a signed amendment to this agreement         by such
              sub-distributor or agent agreeing to be bound by the terms of this Agreement, in form and substance
              satisfactory to Company.     Company reserves the right to approve or disapprove of any sub
              distributor or agent, in its sole discretion.


        2.4. Sales Outside the Territory.      Distributor shall not directly ship the Products outside of the
              Territory or knowingly permit such activity to be conducted by any entity. Distributor shall not
              actively advertise, promote or solicit customers for the Products outside the Territory nor establish any
              office through which orders are solicited or any depot at which inventories of the Products are stored
              outside the Territory. Activities outside the designated territory are considered a material breach of
              contract.


       2.5. Annual Purchase Minimums. Distributor agrees to purchase a minimum amount of the Products as set
              forth in Exhibit B attached hereto and incorporated by           reference herein ("Annual     Purchase
              Minimum"), during each 12-month period ("12-Month Period. In the event of a termination of this
              Agreement prior to the end of a full 12-Month Period, then the Annual Purchase Minimum required to
              be made by Distributor shall be prorated based upon a 365 day period and the actual number of days
              lapsed during the shortened 12-Month Period, with the purchase amount rounded up to the nearest
              U.S. Dollar. In the event of termination by Company, distributor shall not be liable for outstanding
              balance between actual dollars purchased and Annual Purchase Minimum. Distributor will only be
              liable for outstanding payment of products already shipped.


         3.   PRICES AND PAYMENTS




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        3.1. Prices. The prices to be paid by Distributor for the Products purchased pursuant to this Agreement
                shall be according to those reflected in EXHIBIT A. Prices are Ex Works and distributor pays for all
                freight costs.


        3.2. Price Increases. Decreases. Company may, at any time during the Term of this Agreement, change the
                pricing set forth on the Distributor List Prices by providing Distributor with at least ninety (90) days
                prior written notice. Increased prices for any or all of the Products shall not apply to Orders placed by
                Distributor on or prior to the effective date of the price increase. Orders placed once the price increase
                has been announced cannot exceed one quarter's pro rated Annual Purchase Minimum. Price shall not
                increase by more than 5% per annum. Price decreases with respect to all of the Products shall be
                effective immediately upon written notice to the Distributor on all such Products not yet delivered.


        3.3. Payment Terms. Payments by Distributor hereunder shall be made by credit card or wire transfer as
                follows: net due 45 (forty-five) days from date of invoice.



         4.     TERM AND TERMINATION


        4.1 .Term. This Agreement shall take effect as of the date first above written and shall continue in force
                for the initial period of three years (3) years ("Initial Term").      Thereafter, this Agreement shall be
                renewed for an additional period of three (3) year each ("Renewal Term", and together with the Initial
                Term, the "Term"), unless either party provides written notice to the other party of its intent to not
                renew this Agreement at least sixty (60) days prior to the end of the then-Initial Term or the Renewal
                Term, as applicable.


        4.2. Termination.        Notwithstanding the provisions of this Section, this Agreement may be terminated in
                accordance with the following provisions:


              (a)       Either party hereto may terminate this Agreement at any time by giving notice in writing to the
                        other party, which notice shall be effective upon dispatch, should the other party file a petition
                        of any type as to its bankruptcy, be declared bankrupt, become insolvent, make an assignment
                        for the benefit of creditors, go into liquidation or receivership, or otherwise lose legal control of
                        its business.


            (b)         Either party may terminate this Agreement by giving notice in writing to the other party in the
                        event the other party is in material breach of this Agreement and shall have failed to cure such
                        breach within thirty (30) days of receipt of written notice thereof from the first party;


            (c)         Company may terminate this Agreement at any time on written notice within ninety (90) days if
                        Distributor shall have failed to meet the Annual Purchase Minimum applicable to such period
                        (prorated for any period shorter than a 12-Month Period) as set forth in this Agreement. Should
                        the Annual minimum purchase Minimum not be met, distributor has 90 days (cure phase) to
                        rectify the situation and submit orders to satisfy the Annual Purchase Minimum. These
                        purchases will not be applicable to the following year's Annual Purchase Minimum.


           (d)          Company may terminate this Agreement at any time on written notice in the event that the
                        Distributor: (i) merges with any company or other entity, (ii) assigns or disposes of substantially
                        all of its assets or business to any third party. Distributor will have 6 months to sell-off balance
                        of inventory at Full MSRP or the company may choose to buy back the inventory at the price
                        initially paid.




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        4.3. Rights and Obligations on Termination. In the event of termination of this Agreement for any reason,
                the parties shall have the following rights and obligations:


              (a)       Termination of this Agreement shall not release either party from the obligation to make
                        payment of all amounts then or thereafter due and payable, nor shall it relieve any party from its
                        indemnification obligations hereunder.


              (b)       Company shall have the right, at its option, to (i) cancel any or all accepted purchase orders
                        which provide for delivery after the effective date of termination, and/or (ii) repurchase any part
                        of Distributor's inventory of the Products in Distributor's possession as of the termination date
                        at Company's invoiced price to Distributor for such products, less depreciation calculated on a
                        thirty-six (36) month, straight-line basis and less any appropriate amount for excessive wear and
                        tear, plus freight to the original FOB shipping point. Company shall exercise its option under
                        this subsection by notifying Distributor in writing no later than thirty (30) days after the
                        effective termination date.


              (c)       Distributor's confidentiality obligations shall survive termination of this Agreement.


              (d)       Distributor shall, on its own responsibility, collect and remove all data, signboards, posters, and
                        advertising relating to the Products, and shall, at its sole expense, deliver to Company or dispose
                        of a part or the whole of them in accordance with Company's instructions.


              (e)       Distributor shall remove and discontinue using Company's trade name, trademarks and any
                        marks confusingly similar thereto.


              (f>       Distributor shall not conduct itself, whether intentionally or not, in such a manner as would lead
                        a third party to believe that Distributor is still an authorized distributor of the Products.


        4.4. No Compensation. In the event either party terminates this Agreement for any reason in accordance
             with the terms hereof, the parties hereby agree that, except as otherwise specifically provided in this
                Agreement and without prejudice to any other remedies which either party may have in respect of any
                breach of this Agreement, neither party shall be entitled to any compensation or like payment from the
                other as a result of such termination.


         5.     TERMS AND CONDITIONS.                   The Terms and Conditions referenced herein and attached to
                this Agreement are an integral part of this Agreement and are incorporated by reference herein. In the
                event of any conflict or inconsistency between the terms of Sections 1 through 5 herein and the Term
                s and Conditions, the Terms and Conditions shall control.



         6.     MISCELLANEOUS


       6.1. Governing Law and Venue. This Agreement shall be governed by, and interpreted and construed in
            accordance with, the laws of the State of California, USA, without regard to its conflict of laws
            principles. Each party irrevocably consents to jurisdiction and venue in Los Angeles County,
            California and irrevocably waives any objection to improper jurisdiction, improper venue or
               inconvenient forum in Los Angeles County, California.      The parties specifically exclude from
               application to this Agreement that law known as the United Nations Convention on the International
                Sale of Goods.


       6.2. Relationship. This Agreement does not make either party the employee, agent or partner of the other
            for any purpose whatsoever.    Other than between the parties as specifically set forth in this


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               Agreement, neither party is granted any right or authority to assume or to create any obligation or
               responsibility, express or implied, on behalf of or in the name of the other party.


        6.3. Assignment.       Neither party shall have the right to assign or otherwise transfer its rights and
               obligations under this Agreement except with the prior written consent of the other party, which will
               not be unreasonably withheld. Company shall be entitled to assign any or all of its rights and
               obligations hereunder to any of its subsidiaries or a successor in interest by merger, by operation of
               law, assignment, purchase or otherwise of its entire business. Any prohibited assignment shall be null
               and void.


        6.4. Notices.    Notices permitted or required to be given hereunder shall be deemed sufficient if given
               personally, by facsimile (with evidence of receipt) or by reputable courier service (with evidence of
               delivery), addressed to the respective addresses of the parties as first above written or at such other
               addresses as the respective parties may designate by like notice from time to time. Notices so given
               shall be effective upon delivery or receipt by the party to which notice is given.


        6.5. Entire Agreement. This agreement, and all exhibits attached hereto, constitute the entire agreement of
             the parties with respect to the subject matter hereof, and supersedes all previous agreements, oral or
             written, by and between Company and distributor parties related to this agreement. Distributor and
             Company each individually acknowledge that it has not been induced to enter into this agreement by
              any representations or statements, oral or written, not expressly contained herein.


        6.6. Amendment. This Agreement shall not be deemed or construed to be modified, amended, rescinded,
             cancelled or waived, in whole or in part, except by written amendment signed by the parties hereto.


        6.7. Publicity. This Agreement is confidential and no party shall issue press releases or engage in other
             types of publicity of any nature dealing with the commercial and legal details of this Agreement
             without the other party's prior written approval, which approval shall not be unreasonably withheld.
             However, approval of such disclosure shall be deemed to be given to the extent such disclosure is
             required to comply with governmental rules, regulations or other governmental requirements. In such
             event, the publishing party shall furnish a copy of such disclosure to the other party.


        6.8. Severability. In the event that any of the terms of this Agreement are in conflict with any rule of law
             or statutory provision or are otherwise unenforceable under the laws or regulations of any government
             or subdivision thereof, such terms shall be deemed stricken from this Agreement, but such invalidity
              or unenforceability shall not invalidate any of the other terms of this Agreement and this Agreement
              shall continue in force, unless the invalidity or unenforceability of any such provisions hereof does
              substantial violence to, or where the invalid or unenforceable provisions comprise an integral part of,
              or are otherwise inseparable from, the remainder of this Agreement.


       6.9. Counterparts. This Agreement may be executed in two or more counterparts, including by facsimile
              or email with PDF attachment, in the English language, and each such counterpart shall be deemed an
              original hereof. In case of any conflict between the English version and any translated version of this
              Agreement, the English version shall govern.


       6.10. Further Assurances. The parties hereto each agree to execute, make, acknowledge, and deliver such
              instruments, agreements and other documents and take such actions as may be reasonably required to
              effectuate the purposes of this Agreement and to consummate the transactions contemplated.


       6.11. Attorneys Fees.       If any judicial or other proceeding is brought by either party regarding the
              interpretation or enforcement of this Agreement, the prevailing party will recover from the other all
              costs, attorneys' fees and other expenses incurred by the prevailing party with regard to that

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               proceeding, and the right to such costs, attorneys' fees and other expenses shall be deemed to have
               accrued upon the commencement of said proceeding and shall be enforceable whether or not said
               proceeding is prosecuted to judgment.


        6. 12. Waiver. No failure by either party to take any action or assert any right hereunder shall be deemed to
              be a waiver of such right in the event of the continuation or repetition of the circumstances giving rise
               to such right.


        6.13. Force Majeure. Nonperformance of either party will be excused to the extent that performance is
            rendered impossible by strike, fire, flood, governmental acts or orders or restrictions, or other similar
            reason where failure to perform is beyond the control and not caused by the negligence of the non-
               performing party, provided that the non-performing party gives prompt notice of such conditions to
              the other party and makes all reasonable efforts to perform.


         7,    OBLIGATIONS OF DISTRIBUTOR.



        7. 1 . Annual Marketing Plan. On or before June 30 of each calendar year this Agreement is in effect,
              Rea.deeming Beauty and Distributor shall agree to an Annual Marketing Plan for the sale of the
              Products in the next calendar year. Both parties (Company and Distributor) agree to meet on an
              annual basis. The Annual Marketing Plan shall set forth Distributor's sales, marketing and distribution
              plans, as well as a description of planned promotion and trade spending activities. Included within
              this Annual Marketing Plan shall be a forecast of quarterly unit and dollar purchases on a by item
              basis. It is understood that this forecast shall be updated quarterly or more frequently as needed.


        7.2. Monthly report On or before the 20th of each month Distributor shall submit updated "Distribution
              file" to both the Director of Sales, EMEA and VP of Global sales. This shall include new distribution
              opportunities with major retail costumers to be discussed and approved by Rea.deeming Beauty Inc.


        7.3. Report every 6 months. Within 15 days after the last day of each calendar quarter this Agreement is in
             effect, Distributor shall submit to Rea.deeming Beauty a Quarterly Report specifying in detail: (a) the
              number of cases of the Products sold during the previous quarter listed by SKU; (b) the advertising,
              promotion and trade spending activities and expenditures with respect to the Products during the
              previous quarter; (c) the number of cases, listed by SKU, forecasted to be sold during the next quarter;
              (d) Distributor's current price list for the Products; and (e) any other relevant information the
              Distributor deems to be valuable such as competitive activity in the Territory.



       7.4. Retail Prices of Products. Distributor shall notify Rea.deeming Beauty of the retail pricing for all
            Products (outlined in Exhibit 11 and inform Rea.deeming Beauty promptly of any change in pricing.



       7.5. Local Law. Distributor shall notify Rea.deeming Beauty of the existence and content of any provision
            of law in the Territory, or any other applicable law, that conflicts with any provision of this
              Agreement at the time of its execution or thereafter. In addition, Distributor shall notify Rea.deeming
              Beauty if any of the Products require registration or other authorization with any governmental body
              in the Territory before being sold in the Territory.


       7.6. Labeling and Other Legal Requirements. Distributor shall advise Rea.deeming Beauty of all labeling
            and other legal requirements imposed by law in the Territory that are applicable to the import, sale or
              distribution of the Products. Distributor also shall use all reasonable efforts to ensure Products
              comply with all such legaljequirementsprior to their sale in the Territory.

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        7.7. Proof of Export to the Territory. Where Rea. deeming Beauty is not shipping the Products or is not
             otherwise the "Shipper of Record," Distributor shall be able to provide to Rea.deeming Beauty copies
             of the "Ocean Carrier's Bills of Lading" and the Distributor's Non-Vessel Operated Common
             Carrier's (or NVOCC) Bills of Lading (where applicable) within 30 days after the date of Readeeming
               Beauty invoice.




  IN WITNESS WHEREOF, the parties have caused this Agreement to be executed on the date first
  above written.



  "Company"
  REA.DEEMING BEAUTY. INC.


  By:                                             Witness


  JEFFREYT"f(5LLANE)
  EXECUTIVE VICE PRESIDENT, GLOBAL SALES



  "Distributor"
 New Flag GMB


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                        Exhibit A (excel file attached)




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                                                         EXHIBIT B


                                        Annual Purchase Minimum Requirements
                                                (Based on Distributor Cost)


 For the territories of Germany, Switzerland, and Austria


 January 1, 2018        December 3 1 , 20 1 8 : $ 1 ,300,000 USD
 January 1, 2019        December 31, 2019: $1,500,000 USD
 January 1, 2020 - December 31, 2020: $1,800,000 USD


 For the territories of Czech Republic and Slovakia


 January 1 , 20 1 8 - December 3 1 , 20 1 8 : $ 1 70,000 USD
 January 1, 2019 -December 31, 2019: $195,000 USD
 January 1, 2020 - December 31, 2020: $220,000 USD




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                                             EXHIBIT C


                                        Company Trademarks




                                          blendercleanser®



                                   Modernize the Way You Make Up®




                                                             ®




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                                                     Standard Terms and Conditions

                                                                          Company's archives and to have knowledge of
                                                                          material content, and shall provide Company
    I.    GENERAL                 OBLIGATIONS                       OF
                                                                          with written updates regarding success, progress
          DISTRIBUTOR.
                                                                          or concerns within the Territory on a quarterly
    1.    Marketing.            Distributor     shall    have       the   basis.
   following        obligations       with     respect       to     the
                                                                          3.    Manufacture         or        Distribution   of
   marketing, sale and distribution of the Products:
                                                                          Competitive Goods.           During the Term of this
   (a) To use its reasonable best efforts to promote,                     Agreement, and for an additional two (2) years
   market, distribute and promote the sale of the                         thereafter if Distributor is the party that breaches
   Products     in    the      Territory     during the        Term       this Agreement or initiates termination of this
   hereof; (b) To promptly respond to all inquiries                       Agreement, Distributor shall not manufacture or
   from customers, including complaints, process                          distributeany products which are directly
   all    orders,    and effect       all    shipments        of the      competitive  with the Products (i.e make-up
   Products;        (c)    To     permit       Company,           with    sponge) as reasonably determined by Company.
   reasonable advance notice and during regular                           Products are to be distributed within the market
   business     hours,      visit Distributor's          places      of   level  as   communicated by        Company to
   business and           inspect its       inventories,     service      Distributor, from time to time. Notwithstanding
   records,     sales      records,     and      other       relevant     any other provision to the contrary, Distributor
   documents; (d) To conduct business in a manner                         may sell or otherwise distribute other products
   thatreflects favorably at all times on the                             relating to make up, skin care, nail care and hair
   Products     and       on    Company's         goodwill         and    care.

   reputation; (e) To make no false or misleading
                                                                          4.    Non-Solicitation.      During the Term of this
   representations with regard to the Products; and
                                                                          Agreement, and for an additional one (1) year
   (f) To utilize the Products only as authorized
                                                                          thereafter, Distributor shall not, directly or
   under     this    Agreement        and      not    directly       or
                                                                          indirectly, solicit: (a) Company's vendors,
   indirectly use, permit the use or cause the use of
                                                                          suppliers or customers to do business with any
   such Products in any other manner, including,
                                                                          entity or person other than Company relative to
   but not limited to, the development of any
                                                                          the  Products, or (b) any of Company's
   products or services that are competitive with
                                                                          employees or independent contractors to work
   those of Company
                                                                          for a person or entity other than Company.
   2.     Advertising.            Distributor        may      utilize     Distributor shall not hire or retain any employee
   advertising materials provided by Company to                           who has left the employment or any contractor
   promote sales of the Products and to prepare its                       who has left the consultancy of Company if such
   own advertising materials, to the extent so                            hiring is proposed to occur within one (1) year
   desired, subject to Company's prior reasonable                         after    the   termination     of   such   employee's
   approval. All expenses incurred by Distributor                         employment or contractor's consultancy with
   with respect to creating its own materials for                         Company.
   advertising the Products in the Territory shall be
                                                                          5. Non-Circumvention. Distributor covenants
   borne by Distributor; and (b) Distributor shall
                                                                          and warrants to Company that Distributor shall
   dispatch         any        advertising/PR           or        other
                                                                          not engage in any action or activity that would
   promotional            material      to      Company             for

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    result in the circumvention of purposes of this                   pricing (as set forth in the applicable Distributor
    Agreement or Distributor's obligations under                      List      Price);    (b)     Quantity;         (c)      Requested
    this Agreement.                                                   fulfillment date; and (d) Shipping address.

    6.    Insurance.         Distributor      shall     maintain      2.     Order Process.            Orders shall be processed
    adequate product liability and other appropriate                  as follows:
    insurance acceptable to Company, to protect
                                                                      (a) Orders must be received by Company at
    itself from claims which may arise as a result of
                                                                      least thirty (30) days prior to the fulfillment
    damage to the Products while in the possession
                                                                      dates     requested,       (b)   Company           shall    provide
    or control of the Distributor.
                                                                      Distributor with written notice of acceptance or
    II.   GENERAL                 OBLIGATIONS                  OF     rejection     with       good     cause      within        ten     (10)
    COMPANY                                                           business days from the date of receipt of such
                                                                      orders (the "Notice"); (c) The Notice may be
    1.    Marketing      Materials.          Company          shall
                                                                      delivered either by hand-delivery, email with
    furnish Distributor with a reasonable quantity of
                                                                      read-receipt   confirmation,   facsimile    with
   Company's marketing materials          including,
                                                                      confirmation, or mail with receipt; and (d) Each
   catalogs, brochures, product samples and other
                                                                      Order shall         be   deemed         to   be    an      offer    by
   sales aids that may be available to Company.
                                                                      Distributor to purchase the Products pursuant to
   2. Technical Support. Company shall provide                        the terms of this Agreement and, when accepted
   Distributor with reasonable technical support                      by Company, shall give rise to a contract under
   regarding the    Products and use thereof.                         the terms set forth herein; and (e) To the extent
   Company requires Distributor to devote the time                    the Order conflicts with any terms in this
   as necessary for adequate training to ensure                       Agreement, the terms of this Agreement shall
   proper use and technique of Products.                              govern.


   3.     Expenses.     Company shall pay all travel                  3. Modification of Orders. Orders accepted
   expenses for its representatives to travel to the                  by Company as provided herein may not be
   Territory      for    participation        in      marketing,      modified or cancelled without the prior written
   advertising events, training and inspections, if                   agreement of both parties.      All Orders or
   and to the extent mutually agreed by Company                       mutually agreed change orders shall be subject
   and Distributor.                                                   to the terms of this Agreement. No terms in any
                                                                      Order(s) shall amend, modify or otherwise
   4. Company Participation. The parties will
                                                                      change      these    Terms        and    Conditions,         unless
   mutually agree on the extent of participation of
                                                                      expressly agreed upon in writing by Company.
   Company    and   its  representatives   in the
   marketing and advertising of the Products.                         4.   Product Changes.               Company reserves the
                                                                      right, in its sole discretion and without incurring
   5. Non-Circumvention.            Subject   to
                                                                      any liability to Distributor, to: (a) Alter the
   Distributor's satisfaction of its obligations
                                                                      specifications for any Product;(b) Discontinue
   hereunder, Company shall not engage in any
                                                                      the manufacture of any Product;(c) Discontinue
   action    or   activity    that would       result    in    the
                                                                      the development of any new product, whether or
   circumvention of purposes of this Agreement or
                                                                      not such product has been announced publicly;
   Company's obligations under this Agreement.
                                                                      or (d) Commence the manufacture and sale of
   III.     ORDERS FOR THE PRODUCTS.                                  new products having features which make any

   1.     Order    Information.            Distributor                Product wholly or partially obsolete.
                                                              shall
   submit     purchase       orders      ("Orders")
                                             the        for           5.   Product         Acceptance              and        Provision.
   Products to Company in writing that shall set                      Notwithstanding the foregoing, once an Order
   forth:                                                             has been accepted by Company as provided

   (a) Identification                                                 herein,    Company          shall   fulfill       the   Order       as
                             of    the    Products      ordered,
   including model numbers, date of order, and

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    requested and as accepted, unless otherwise                 2. Notice. Warranty claims hereunder must be
    mutually agreed to in writing by the parties.               made promptly and in writing; must recite the
                                                                nature and details of the claim, the date the
    IV.      DELIVERY OF THE PRODUCTS.
                                                                cause of the claim was first observed and the
    1.      Ex Works.    All deliveries of the Products         serial number of the Product concerned; and
    shall be Ex Works at Company's manufacturing                must be received by Company no later than
    or warehouse facilities.                                    fifteen (15) days after the expiration of the
                                                                warranty period provided for in this Section.
    2. Transfer of Title. Company shall have no
    further responsibility for the Products and title           3. Excluded Claims. Company shall have no
    and all risk of damage to or loss or delay of the           obligation under this Section in the event that
    Products shall      pass     to     Distributor upon the    repair or replacement of the Products shall have
    delivery of the Products at the FOB delivery                been required through normal wear and tear or
    point which shall be either (a) a common carrier,           by the fault or negligence of Distributor or its
    or (b) an agent, or (c) any other person specified          customers.
    by Distributor acting on behalf of Distributor.
                                                                VI.    REPRESENTATIONS,                COVENANTS
    3. Insurance.    Distributor shall insure each              AND WARRANTIES.
    shipment of Products with a reputable insurer. .
                                                                1. Mutual Representations and Warranties.
    Such insurance shall provide for full coverage of
                                                                Each Party represents and warrants to the other
   the Distributor's cost of the Products from the
                                                                Party that it is not a party to any restrictions,
   time the Products are delivered at the FOB point
                                                                agreements      or   understandings    which    would
   until Distributor shall have paid Company for
                                                                prevent    or    make     unlawful     such    Party's
   such Products in full.             Company reserves all
                                                                acceptance      of the   terms   set   forth   in   this
   rights     with   respect       to    delivered   Products
                                                                Agreement       or    such   Party's    performance
   permitted by law including, without limitation,
                                                                hereunder. Each Party further represents that its
   the rights of rescission, repossession, resale, and
                                                                acceptance of the terms of this Agreement and
   stoppage in transit until the full amount due
                                                                the performance of its obligations hereunder
   from Distributor in respect of all delivered
                                                                does not and will not (with or without the
   Products has been paid.
                                                                passage of time) conflict with or constitute a
   V.       ACCEPTANCE.                                         breach or default of any contract, agreement or
                                                                understanding, oral or written, to which such
   1.     Acceptance of the Products.                Company
                                                                Party is a party or by which such Party is bound.
   shall not be liable for Product defects and/or
                                                                Company and Distributor further warrant to each
   such shortage, damage or discrepancy in or to a
                                                                other that each has the right and authority to
   shipment of the Products unless Company has
                                                                enter into this Agreement, to perform all of its
   received notice and substantiating evidence
                                                                respective obligations hereunder and to transfer
   thereof from Distributor within thirty (30) days
                                                                and grant the rights transferred and granted
   of arrival of the Products at Distributor's
                                                                herein.   The persons executing this Agreement
   shipping address in the Territory,        If the
                                                                on behalf of Company and Distributor further
   substantiating evidence delivered by Distributor
                                                                represent and warrant that they have the
   demonstrates that Company is responsible for
                                                                authority from their respective governing bodies
   such Product defects and/or shortage, damage or
                                                                to enter into this Agreement and to bind their
   discrepancy, Company shall promptly deliver
                                                                respective companies or entities or personality to
   additional or substitute Products to Distributor in
                                                                all the terms and conditions of this Agreement.
   accordance with the delivery procedures set
   forth herein at Company's expense. Company                   2.    Company's          Representations            and
   shall  reimburse or credit Distributor for all               Warranties. Company represents and warrants
   shipment costs and import taxes borne by                     to Distributor that Company has good and
   Distributor in connection with the additional or             marketable title to the Products delivered to
   substitute Products.

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    Distributor in fulfillment of each Order accepted                       VII.     LIMITATION OF REMEDIES AND
    by Company under this Agreement.                                        INDEMNIFICATION.

    3. Product Warranty. Company warrants for                               1.     Sole Remedies.     IN NO EVENT SHALL
    a period of one (1) year after the date of delivery                     COMPANY'S             LIABILITY   FOR  ANY
    of the Products in accordance with this Section                         BREACH ARISING OUT OF OR RELATED
    that the Products shall be free from defects in                         TO      THIS    AGREEMENT         EXCEED       THE
    material,    content        and    workmanship.               This      WHOLESALE            COST TO    DISTRIBUTOR'S
    limited     warranty        does       not    cover         defects     CUSTOMER(S)             FOR     THE      ORDERS
    occurring      after   purchase        due        to   intentional      AFFECTED BY SUCH BREACH.
    damage,        misuse,        abuse          or        negligence,
                                                                            2.     Consequential Damages.      IN NO EVENT
    modification      or   accidental        damage,            acts   of
                                                                            SHALL COMPANY'S LIABILITY OF ANY
    violence and acts of Nature.                 Company's sole
                                                                            KIND        INCLUDE       ANY      LIQUIDATED,
    obligation in the event of a breach of such
                                                                            SPECIAL,       INDIRECT,       INCIDENTAL       OR
    warranty shall be to provide, at no charge to
                                                                            CONSEQUENTIAL LOSSES OR DAMAGES,
    Distributor, replacement parts for all defective
                                                                            EVEN IF COMPANY SHALL HAVE BEEN
    parts as set forth in this Agreement.
                                                                            ADVISED OF THE POSSIBILITY OF SUCH
    4.   Limited Warranty.             THE WARRANTIES                       POTENTIAL LOSS OR DAMAGE.                    IN NO
    SET     FORTH          IN    THIS        SECTION              ARE       EVENT        WILL     COMPANY         HAVE    ANY
    INTENDED SOLELY FOR THE BENEFIT OF                                      RESPONSIBILITY            OR      BEAR        ANY
    DISTRIBUTOR.                           ALL              CLAIMS          LIABILITY FOR THE COST OF LABOR FOR
    HEREUNDER              SHALL           BE         MADE             BY   THE      REPAIR      OR   REMOVAL       OF    ANY
    DISTRIBUTOR AND MAY NOT BE MADE                                         DEFECTIVE PRODUCTS.
    BY DISTRIBUTOR'S CUSTOMERS. IN NO
                                                                            3.     Distributor's Indemnification.   Distributor
    EVENT       WILL        COMPANY               HAVE            ANY
                                                                            shall    indemnify   Company,   and   its directors,
    RESPONSIBILITY                    OR         BEAR             ANY
                                                                            officers, employees and agents, and defend and
    LIABILITY FOR THE COST OF LABOR FOR
                                                                            hold each of them harmless from and against
    THE     REPAIR         OR     REMOVAL                  OF     ANY
                                                                            any and all losses, damages, liabilities, costs and
    DEFECTIVE               PRODUCTS.                             THE
                                                                            expenses (including reasonable attorneys' fees
    WARRANTIES SET FORTH ABOVE ARE IN
                                                                            and expenses) arising out of: (a) damage to the
   LIEU       OF     ALL        OTHER            WARRANTIES,
                                                                            Products while in the possession or control of
   EXPRESS          OR      IMPLIED,             WHICH            ARE
                                                                            Distributor to the extent not covered by the
   HEREBY DISCLAIMED                       AND EXCLUDED
                                                                            insurance procured pursuant to Section 3.6;
    BY      COMPANY,            INCLUDING                  WITHOUT
                                                                            (b) any damage to persons or property resulting
    LIMITATION             ANY          WARRANTY                       OF
                                                                            from the handling or distribution of the Products
    MERCHANTABILITY,                   FITNESS              FOR        A
                                                                            by Distributor, its employees, agents, servants,
    PARTICULAR                    PURPOSE,                        AND
                                                                            successors and assigns in breach or violation of
   NONINFRINGEMENT.                        ANY             PRODUCT
                                                                            any written instructions or training ; received
   LIABILITY ISSUES WILL BE HANDLED BY
                                                                            from Company with respect to the Products;
   THE COMPANY.
                                                                            (c) any and all liability and damages for personal
                                                                            injury and property damage arising out of or
                                                                            related to the performance of this Agreement by
                                                                            Distributor, its employees, agents, successors
                                                                            and assigns, including, without limitation, based
                                                                            upon a warranty, express or implied, extended
                                                                            by Distributor which deviates from or is in
                                                                            conflict with Company's limited warranty
                                                                            provided herein; or (e) Distributor's breach of
                                                                            any provision of this Agreement.


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    4.  Company's Indemnification.       Company                  law     or    in     equity,    to    injunctive       relief    to
    shall indemnify Distributor, and its directors,               specifically enforce the terms of this Agreement.
    officers, employees and agents, and defend and
                                                                  IX.   TRADEMARKS.
    hold each of them harmless from and against
    any and all losses, damages, liabilities, costs and           1.    Use     of Trademarks.                 Company       hereby
    expenses (including reasonable attorneys' fees                grants        to      Distributor        a        non-exclusive,
    and expenses) arising out of: (a) damages for                 non-transferable,   and royalty-free right and
    personal injury, death or tangible property                   license to use the Company trademarks specified
    damage arising from the recklessness or willful               in Exhibit C ("Trademarks"), as such Exhibit
    misconduct of Company, its employees, agents,                 may be modified from time to time during the
    servants, successors and assigns, or (b) latent               term of this Agreement, in connection with the
    defects in the Products.                                      sale or other distribution, promotion, advertising
                                                                  and maintenance of the Products for so long as
   VIII.    CONFIDENTIALITY.
                                                                  such trademarks           are    used by          Distributor in
    Distributor acknowledges and agrees that all                  accordance            with      Company's
                                                                                                         standards,
    Company       Information        is    confidential    and    specifications and instructions, but in no event
   proprietary to Company.           Distributor agrees not       beyond the term of this Agreement. Distributor
   to use any of such Company Information during                  shall submit all uses of the Trademarks to
   the term of this Agreement and for a period of                 Company for approval or rejection, prior to any
   two (2) years thereafter for any purpose other                 uses of the Trademarks.               Distributor shall not
   than as permitted or required for performance by               use     any        material     incorporating         or      using
   Distributor hereunder.          Distributor agrees not to      Trademarks without approval from Company.
   disclose or provide any of such Company                        Distributor shall acquire no right, title or interest
   Information to any third party, and shall only                 in such Trademarks other than the foregoing
   permit those employees who need to use such                    limited license, and Distributor shall not use any
   Company         information            for    Distributor's    Trademarks as part of Distributor's corporate or
   performance       of    its   obligations       under   this   trade name or permit any third party to do so
   Agreement.          Nothing       herein     shall   prevent   without the prior written consent of Company.
   Distributor from using, disclosing or authorizing
                                                                  2.    Markings. Distributor shall not, without the
   the disclosure   of any Company Information
                                                                  prior written consent of Company, remove or
   which is, or hereafter becomes, part of the public
                                                                  alter  any   patent  numbers, trade  names,
   domain.             Distributor        understands      and
                                                                  trademarks, notices, serial numbers, labels, tags
   acknowledges that the Company Information has
                                                                  or other identifying marks, symbols or legends
   been developed or obtained by Company by the
                                                                  affixed to any of the Products or containers or
   investment     of     significant time, effort and
                                                                  packages.
   expense and         provides the Company with a
   significant competitive advantage in its business.             3. Infringements.           If   discovered   by
   Distributor understands and acknowledges that                  Distributor, it shall promptly notify Company of
   Company's customer, employee and consultant                    any use by any third party of the Trademarks or
   relationships have been developed or obtained                  any use by such third parties of similar marks
   by Company by the investment of significant                    which may constitute an infringement or passing
   time, effort and expense and provides Company                  off of the Trademarks.               Company reserves the
   with a significant competitive advantage in its                right   in    its    sole discretion         to   institute    any
   business. If Distributor fails to comply with any              proceedings against such third party infringers
   obligations set forth in this Paragraph 11,                    and Distributor shall refrain from doing so.
   Company      will    suffer     immediate,      irreparable    Distributor agrees to cooperate fully with
   harm for which monetary damages will provide                   Company        in any        action taken by Company
   inadequate     compensation.            Accordingly,    the    against such third parties, provided that all
   parties agree that Company will be entitled, in                expenses of such action shall be bome by
   addition to any other remedies available to it, at             Company        and     all     damages       which     may      be

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    awarded or agreed upon in settlement of such                      to pay such Charges and receive the net amounts
    action shall accrue to Company.                                   due under this Agreement.

   4. Termination    of  Use.       Distributor                       XI.    IMPORT             AND    EXPORT           OF        THE
   acknowledges Company's proprietary rights in                       PRODUCTS
   and to the Trademarks and any trade names
                                                                      1.     Import Documentation.               Distributor shall
   regularly applied by Company to the Products,
                                                                      be responsible for obtaining all licenses and
   and      Distributor hereby       waives       in    favor    of
                                                                      permits and for satisfying all formalities as may
   Company         all     rights    to     any    trademarks,
                                                                      be required to import the Products into the
   tradenames      and logotypes          now     or hereafter
                                                                      Territory in accordance with then prevailing law
   originated by Company.             Distributor shall not
                                                                      or regulations.
   adopt, use or register any words, phrases or
   symbols which are identical to or confusingly                      2.     Export    Regulations.             Distributor       shall
   similar to any of Company's trademarks. Upon                       supply Company on a timely basis with all
   termination of this Agreement, Distributor shall                   necessary       information         and     documentation
   cease and desist from use of the Company                           reasonably requested by Company in order to
   trademarks in any manner.                                          permit Company to export the Products with
                                                                      respect to any sale or order solicited by
   X.    TAXES
                                                                      Distributor hereunder.             Distributor shall         not
   1.    Taxes and Duties.            Distributor shall be            dispose of any            of the Products,        know-how,
   solely     responsible      for    and      shall    pay,     or   technical data, documentation or other products
   reimburse Company for, all taxes, duties, import                   or materials furnished to Distributor by
   deposits, assessments and other governmental                       Company pursuant to this Agreement to any
   charges, however designated, which are now or                      party or in any manner which would constitute a
   hereafter imposed under or by any governmental                     violation of the export control regulations of the
   authority or agency ("Charges"), that are (a)                      United States now or hereafter in effect if the
   associated with the performance by Company of                      disposition was made by a U.S. corporation, or a
   its obligations hereunder, (b) associated with the                 non-U.S.        corporation         subject       to    those
   payment      of any       amount       by   Distributor       to   regulations.
   Company pursuant to this Agreement, (c) based
                                                                      XII.   DISPUTES.
   on the Products or their use, or (d) relate to the
   import of the Products into the Territory in                       Any dispute, controversy or claim arising out of
   accordance  with then prevailing    law   or                       or relating to this Agreement shall be finally
   regulations.          Notwithstanding the           foregoing,     settled by binding arbitration before a single
   Distributor shall only be liable for such Charges                  neutral  arbitrator in Los Angeles County,
   that are imposed after title to the Products has                   California,          in      accordance        with          the
   transferred from Company to Distributor, and                       JAMS/Endispute Rules and Procedures, which
   under no       circumstances       shall    Distributor be         shall specifically include the right to discovery
   liable for charges Company incurs while title to                   and the rules of evidence              set forth       in    the
   the Products remains in Company.                                   California Evidence Code, and in conjunction
                                                                      with   the  applicable law   governing  this
   2.    Net Amounts. All payments to be made by
                                                                      Agreement.       In the event that Company and
   Distributor     to      Company        pursuant       to    this
                                                                      Distributor     cannot mutually           agree   upon       the
   Agreement represent net amounts Company is
                                                                      arbitrator,    the    then      presiding judge        of the
   entitled to receive and shall not be subject to any
                                                                      Superior Court of the State of California located
   deductions or offsets for any reason whatsoever.
                                                                      in the County of Los Angeles shall appoint the
   In the event any of said payments become
                                                                      arbitrator.     Except as         set forth    above,       this
   subject to Charges that are levied outside the
                                                                      arbitration includes all claims whether arising in
   United States, and such Charges have not been
                                                                      tort or contract and whether arising under statute
   paid, then payments to Company shall be
                                                                      or common law.             The arbitrator shall issue a
   increased to such an extent as to allow Company

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    written finding of fact and conclusions of law,
    which     may be enforced in any court of
    competent jurisdiction. The arbitrator shall have
    the authority to grant all monetary or equitable
    relief, including, without limitation, costs to the
    prevailing party where authorized by law.             The
    fees of the arbitrator and all other costs that are
    unique to arbitration shall be paid by Company
    if required in order to make this arbitration
    provision enforceable, otherwise they shall be
    split equally between the parties. The arbitration
    shall be conducted in the English language.

   XIII.    MISCELLANEOUS.

   1.    Force Majeure.       Nonperformance of
   either party will be excused to the extent that
   performance is rendered impossible by strike,
   fire, flood, governmental acts or orders or
   restrictions, or other similar reason where failure
   to perform is beyond the control and not caused
   by the negligence of the non-performing party,
   provided that the non-performing party gives
   prompt notice of such conditions to the other
   party    and   makes     all    reasonable   efforts    to
   perform.




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